           Case: 2:06-cr-00211-MHW-KAJ Doc #: 49 Filed: 10/05/07 Page: 1 of 8 PAGEID #: 131
AO 2456 (Rev. 06/05) Sheet 1 - Judgment in a Criminal Case



                                    United States District Court
                                   Southern District of Ohio at Columbus

          UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                              v.
                 Anthony C. Menkello                                 Case Number:              2:06-cr-211

                                                                     USM Number:               67023-061

                                                                     Steven Nolder
                                                                     Defendant's Attorney

THE DEFENDANT:

[.....]   pleaded guilty to count(s): 1-4 of the Indictment.
[]        pleaded nolo contendere to counts(s) _ which was accepted by the court.
[]        was found guilty on count(s) _ after a plea of not guilty.

          The defendant is adjudicated guilty of these offense(s):

Title & Section                    Nature of Offense                                    Offense Ended
See next page.



       The defendant is sentenced as provided in pages 2 through            l    of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

I ]       The defendant has been found not guilty on counts(s)


[ ]       Count(s)      (isltare) dismissed on the motion of the United States.

        IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and the
United States Attorney of material changes in the defendant's economic circumstances.

                                                                                            10/3/07

                                                             ~;Kdgment

                                                                                Signature of Judicial Officer


                                                                 MICHAEL H. WATSON, United States District Judge
                                                                         Name & Title of Judicial Officer




                                                                                             Date
          Case: 2:06-cr-00211-MHW-KAJ Doc #: 49 Filed: 10/05/07 Page: 2 of 8 PAGEID #: 132
AO 2456 (Rev. 06/05) Sheet lA - Judgment in a Criminal Case
CASE NUMBER:               2:06-cr-211                                                        Judgment - Page 2 of 7
DEFENDANT:                 Anthony C. Menkello

                                       ADDITIONAL COUNTS OF CONVICTION

Title & Section                     Nature of Offense                         Offense Ended

18 USC 2113(a) and (d)              Armed Bank Robbery                        8/16/06          1

18 USC 924(c)(1)(A)(i)              Possessing a Firearm During a Crime       8/16/06          2
                                    of Violence

18 USC 32(a)(1) and                 Attempt to Damage, Destroy, Disable        8/16/06         3
(a)(7)                              or Wreck an Aircraft in the Special
                                    Aircraft Jurisdiction of the United States

18 USC 924(c)(1 )(C)(i)             Discharging a Firearm during a Crime      8/16/06          4
                                    of Violence
         Case: 2:06-cr-00211-MHW-KAJ Doc #: 49 Filed: 10/05/07 Page: 3 of 8 PAGEID #: 133
AO 2458 (Rev. 06/05) Sheet 2 - Imprisonment
CASE NUMBER:              2 :06-cr-211                                                                Judgment - Page 3 of 7
DEFENDANT:                Anthony C. Menkello


                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of 60 months as to Count 2 and 300 months as to Count 4 to run consecutively with each other




[vI     The court makes the following recommendations to the Bureau of Prisons:
        1. That the defendant be placed in FCI Allenwood, PA.
        2. That the defendant participate in the Bureau of Prison's G.E.D. Program.


[VI     The defendant is remanded to the custody of the United States Marshal.


[1      The defendant shall surrender to the United States Marshal for this district.
        [I at        on
        [ I as notified by the United States Marshal.


[ I     The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
        [ I before 2:00 p.m. on        _
        [ I as notified by the United States Marshal but no sooner than
        [ I as notified by the Probation or Pretrial Services Office.

                                                        RETURN
I have executed this judgment as follows:




        Defendant delivered on                                 _   to

at                                            ' with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL


                                                                           By
                                                                                            Deputy U.S. Marshal
          Case: 2:06-cr-00211-MHW-KAJ Doc #: 49 Filed: 10/05/07 Page: 4 of 8 PAGEID #: 134
AO 2458 (Rev. 06/05) Sheet 3 - Supervised Release
CASE NUMBER:               2:06-cr-211                                                                           Judgment - Page 4 of 7
DEFENDANT:                Anthony C. Menkello


                                                SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years as to Count 2 and 5
~rs    as to Count 4 to run concurrently.




The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the Court.

[1       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk
         of future substance abuse. (Check, if applicable.)
[V']     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)
[V'l     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[1       The defendant shall register with the state sex offender registration agency in the state where the defendant resides,
         works, or is a student, as directed by the probation officer. (Check, if applicable.)
[1       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                               STANDARD CONDITIONS OF SUPERVISION
1)  the defendant shall not leave the judicial district without permission of the court or probation officer;
2)  the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
    five days of each month;
3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
    officer;
4)  the defendant shall support his or her dependants and meet other family responsibilities;
5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training or
    other acceptable reasons;
6)  the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)  the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
    controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)  the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)  the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
    convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
    enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
    without the permission of the court; and
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.
          Case: 2:06-cr-00211-MHW-KAJ Doc #: 49 Filed: 10/05/07 Page: 5 of 8 PAGEID #: 135
AO 245B (Rev. 06/05) Sheet 3 - Supervised Release

CASE NUMBER:              2 :06-cr-211                                                     Judgment - Page 5 of 7
DEFENDANT:                Anthony C. Menkello


                          SPECIAL CONDITIONS OF SUPERVISED RELEASE

The defendant shall participate in a mental health treatment program at the direction of the probation
officer.

The defendant shall follow the prescribed medication regimen as ordered by mental health professionals.

The defendant shall obtain his General Education Diploma.
          Case: 2:06-cr-00211-MHW-KAJ Doc #: 49 Filed: 10/05/07 Page: 6 of 8 PAGEID #: 136
AO 2458 (Rev. 06/05) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                2:06-cr-211                                                                                     Judgment - Page 6 of 7
DEFENDANT:                  Anthony C. Menkello


                                       CRIIVIINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                 Assessment                                                        Restitution
     Totals:                                      $ 400.00                                                              $




[]   The determination of restitution is deferred until                    An amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

[]   The defendant must make restitution (including community restitution) to the following payees in the amounts
     listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment
     unless specified otherwise in the priority order of percentage payment column below. However, pursuant to
     18 U .S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

                                                     *Total
Name of Payee                                         Loss                            Restitution Ordered     Priority or Percentage

     TOTALS:                                         $                                         $-­


[]    Restitution amount ordered pursuant to plea agreement $_ _

[]   The defendant must pay interest on restitution and a fine of more than $2500, unless the restitution or fine is
     paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the
     payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
     §3612(g).

I]   The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     []    The interest requirement is waived for the                []        fine       []   restitution.

     []    The interest requirement for the              []   fine        []    restitution is modified as follows:




  * Findings for the total amount of losses are required under Chapters 109A, 110, 11OA. and 11 3A of Title 18 for offenses committed on or
after September 13, 1994 but before April 23, 1996.
           Case: 2:06-cr-00211-MHW-KAJ Doc #: 49 Filed: 10/05/07 Page: 7 of 8 PAGEID #: 137
AO 2458 (Rev. 06/05) Sheet 6 - Criminal Monetary Penalties
CASE NUMBER:                2:06-cr-211                                                                         Judgment - Page 7 of 7
DEFENDANT:                  Anthony C. Menkello

                                                SCHEDULE OF PAYIVIENTS
     Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as
follows:

A    [VI Lump sum payment of $ 400.00 due immediately, balance due

           [ I not later than or
           [ I in accordance with          [I   C,     [I    D,   [I E, or   [ I F below; or

B    [I    Payment to begin immediately (may be combined with                  [I   C    [I    D, or   [I   F below); or

C    [I    Payment in equal installments of $ over a period of , to commence days after the date of this
           judgment; or

D     [I   Payment in equal installments of $ over a period of , to commence days after release from
           imprisonment to a term of supervision; or

E     [I   Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release
           from imprisonment. The Court will set the payment plan based on an assessment of the defendant's
           ability to pay at that time; or

F     [I   Special instructions regarding the payment of criminal monetary penalties:

      [I   If the defendant, while incarcerated, is working in a non-UNICOR or grade 5 UNICOR job, the defendant
           shall pay $25.00 per quarter toward defendant's monetary obligation. If working in a grade 1-4 UI\IICOR
           job, defendant shall pay 50% of defendant's monthly pay toward defendant's monetary obligation. Any
           change in this schedule shall be made only by order of this Court.

     [I    After the defendant is released from imprisonment, and within 30 days of the commencement of the term
           of supervised release, the probation officer shall recommend a revised payment schedule to the Court to
           satisfy any unpaid balance of the monetary penalty. The Court will enter an order establishing a schedule
           of payments.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

[I   Joint and Several (Defendant and Co-Defendant names and Case Numbers, Total Amount, Joint and Several Amount and
     corresponding payee, if appropriate.I:

[I   The defendant shall pay the cost of prosecution.
[I   The defendant shall pay the following court costts):

[I   The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest;
(4) fine principal; (5) fine interest; (6) community restitution; (7) penalties; and (8) costs, including cost of
prosecution and court costs.
Case: 2:06-cr-00211-MHW-KAJ Doc #: 49 Filed: 10/05/07 Page: 8 of 8 PAGEID #: 138




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF omo

       8/13/01: POLICY CHANGE RESTRICTING PUBLIC DISCLOSURE
        OF THE STATEMENT OF REASONS PAGE IN THE JUDGMEID



                DISTRIBUTION OF '.
        THE JUDGMENT AND COMMITMENT
      WITH THE STATEMENT OF REASONS PAGE
    AND THE DENIAL OF FEDERAL BENEFITS PAGE
                                   ISLIMITED TO:

                      DEFENSE COUNSEL
                 UNITED STATES ATTORNEY
           .U.S.A.'s FINANCIAL LITIGATION UNIT
                UNITED STATES PROBATION
              . UNITED STATES PRETRIAL
       UNITED STATES SENTENCING COMMISSION
       (IF A TERM OF IMPRISONMENT, THEN ALSO
            THE FEDERAL BUREAU OF PRISONS)


  THE CLERK OF COURTS WILL MAINTAIN THE OFFICIALVERSION
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